             Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 1 of 8



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS                             FILED
                              SAN ANTONIO DIVISION
                                                                                NOV 1 0 2015

ERIKA SANCHEZ                                 §                           CLERK, U.S.OIsTOURT
                                                                          WESTERN DiST*C119 TEXAS
     Plaintz:fJ;                              §                           BY______________
                                              §
                                                                                             bEf'trrY
v.

PRUDENTIAL INVESTMENT
                                              §
                                              §
                                              §
                                                  5:15-cv-00982
                                                                      DAE
MANAGEMENT, INC.,                             §
  Defendants.                                 §

                    PLAINTIFF'S ORIGINAL COMPLAINT AND
              APPLICATION FOR TEMPORARY RESTRAINING ORDER
                           AND INJUNCTIVE RELIEF

                                       A. PARTIES

1.     Plaintiff, ERIKA SANCHEZ, is an individual who is a citizen of the State of Texas
and resident ofNew Braunfels in Comal County, Texas within the Western District of Texas,
San Antonio Division.

2.      Defendant, PRUDENTIAL INVESTMENT MANAGEMENT, INC., is a foreign
corporation organized and existing under the laws of the State of New Jersey with it principal
place of business in Newark, New Jersey. Defendant may be served with process by serving
its registered agent, CT Corporation System at 1999 Bryan Street, Suite 900, Dallas, Texas
75201.

                                    B. JURISDICTION

3.     The court has jurisdiction over the lawsuit under 28 U.S.C. § 1332 (a) (1) because the
Plaintiff and Defendant are citizens of different states and the amount in controversy exceeds
$ 75,000, excluding interests and costs. Plaintiff is a resident of Texas and Defendant
Prudential Investment Management, Inc. is a foreign corporation, whose principal place of
business is New Jersey. The amount in controversy is $400,000 which is the amount due to
be paid under the SGLI policy insuring Servicemember Sebastian Hoffman.

       There is a federal jurisdiction over this case under 28 U.S.C. 1331, the federal
question statute, because the federal SGLI statute creates an implied cause of action, and
resolution of the dispute over whom should be awarded the proceeds under the policy on


Sanchez' Original Complaint
Page    1f
         8
         Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 2 of 8




deceased servicemember Sebastian Hoffman is governed by federal law and interpretation
of this statute.

                                          C. VENUE

4.     Venue is proper in this district under 28 U.S.C. § 1391 (b)(2) because a substantial part
of the events and omissions giving rise to the claim occurred at Servicemember Sebastian
Hoffman's unit, located at Fort Sam Houston, Texas, which is within the bounds of the US
District Court, Western District of Texas, San Antonio Division. Former servicemember
Sebastian T. Hoffman was at all times relevant a soldier in the U.S. Army, who was assigned
to Fort Sam Houston to drill. Prior to Sebastian T. Hoffman's death, he had changed his
designation of beneficiary twice, with the latest re-designation naming Erika Sanchez as his
sole beneficiary, being awarded 100% of the policy proceeds upon his death. The unit
administrator whose position was, inter alia, to properly execute, date and process SGLI
designation forms, failed to property date, execute and process the paperwork required to
comply with the SGLI statute. Prudential has wrongfully refused to honor the latest
designation made by Mr. Hoffman due to the acts of the unit administrator to properly
execute, date and process the paperwork as required. The acts and omissions of the unit
administrator upon which Prudential relies occurred in the Western District of Texas, San
Antonio Division.

                                          D. FACTS

5.     This case arises out of lapse and failure within former Sebastian T. Hoffman's unit
to properly complete the signed and tendered beneficiary SGLI form, such that Defendant
Prudential refuses to accept, acknowledge or honor either of the two designation forms
submitted by him. Hoffman's unit, not once but twice, failed to properly execute SGLI
designation forms properly submitted and delivered to his unit administrator. As a result of
which, his former unit has held a 15-6 investigation, in accordance with the Uniformed Code
of Military Justice, to determine the basis for this lapse and to assess and any appropriate
administrative and/or punitive actions as provided under the UCMJ.

6.     It is undisputed that on both occasions Hoffman tendered signed SGLI designation
forms to the person having oversight and responsibility for ensuring that the servicemember' s
desired designations were given full force and effect. The last designation, which Hoffman
signed and handed to his unit administrator, confirmed that the only person whom he wanted
to leave any interest in his policy was his former wife, Erika Sanchez.

7.      Sebastian T. Hoffman committed suicide on June 10, 2015. Improperly relying upon
the alleged omissions and errors of the unit administrator, Defendant Prudential is refusing
to accord the decedent his last expressed, desired designation for want of proper dating and

Sanchez' Original Complaint
Page 2 of 8
          Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 3 of 8




execution of the SGLV 8286 beneficiary form, which names his former wife as the sole,
 100% percent beneficiary to the policy. In her place, the Defendant apprised Plaintiff
Sanchez of her rights to appeal the determination made to award the proceeds equally
between the decedent's estranged parents, Cheryl Hoffman, and George Hoffman, real
parties in interest. Plaintiff Sanchez appropriately lodged an internal appeal which was
denied. Prudential advised in correspondence sent to her that it would extend the period of
time to reconsider its position to November 11, 2015, upon which date it would distribute
proceeds under the policy to the servicemember' s heirs at law, as established under the SGLI
statute.

8.      Defendant Prudential's imminent disbursement of policy proceeds to the
servicemember's estranged parents and not to the beneficiary he identified and perfected his
interest, when he signed and hand-delivered the form to his unit administrator obligated to
execute, sign, date and properly process the form, runs afoul of the decedent's intentions and
imposed artificial restriction on distributions that counterman and effectively disregard the
servicemember's selection. Defendant Prudential's decision to disregard the latest signed
and tendered designation form to his unit officer assigned with processing SGLI paperwork,
awarding ERIKA Sanchez 100% interest in his retirement, effectively elevates form over
substance and improperly penalizes the former servicernember for lapses in processing to
which he had no control or oversight.

9.     The established federal jurisprudence on the interpretation of SGLI beneficiary
designations finds that Prudential is obligated to honor the last properly designated, signed
and delivered form, irrespective of any acts or omissions in the processing of such paperwork
by his unit, the federal government or Prudential.

                                E. Count   1Plaintiffs Claim
10.     Under U.S.C. § 1970 (a), Plaintiff has an implied cause of action in seeking
beneficiary proceeds of Mr. Hoffman's SGLI policy. In Coomer, the Fifth Circuit held that
when a service member hands the writing, naming the beneficiary, to the person whom is in
charge of receiving and maintaining the beneficiary designated forms, receipt has occurred.
Coomerv. U.S., 471 F.2d 1,5 (5th Cir. 1973). Defendant, Prudential is seeking to distribute
proceeds to his heirs-at-law, thus failing to honor the valid beneficiary designation. An
insurance policy is a contract, and it is governed by the same rules of construction applicable
to all contracts. The Court's primary goal is to give effect to the written expression of the
parties' intent. See e.g. Gray v. Nash, 259 S.W.3d 286, 289 (Tex. App. 2008).

11.    Defendant Prudential's letter advising Plaintiff that it is disregarding the final
designation made by Mr. Hoffman and conferring the policy benefits between his estranged
parents, constitutes an anticipatory breach of contract and elevates forms over substance in

Sanchez' Original Complaint
Page3of8
          Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 4 of 8




awarding policy proceeds to persons whom the decedent elected to not provide any interest,
as he specifically identified ERIKA Sanchez, in their place.

                    D. REQUEST FOR PRELIMINARY INJUNCTION
                        & TEMPORARY RESTRAINING ORDER

       a. Request for Preliminary Injunction

12.    Plaintiff ERIKA Sanchez will suffer irreparable injury if Defendant Prudential is not
enjoined while this suit is pending from dispersing SGLI proceeds to his heirs-at-law and
disposing of his former last designation as if he had never made any designation, on or before
November 11, 2015. Should Prudential not be enjoined and prohibited from disbursing the
proceeds under the policy to persons it has selected, over the wishes of the servicemember,
to receive benefits, those same proceeds shall in all likelihood be liquidated and expended
such that even if Plaintiff Sanchez was to prevail in the underlying suit, there would be no
proceeds to realize and accord her the right to insurance benefits.

13.    Under the 5th Circuit's analysis for ordering a preliminary injunction, Ms. Sanchez has
met the requirements. DSC Commc 'ns Corp DGI Technologies, Inc., 81 F.3d 597, 600 (5th
Cir. 1996). The Plaintiff will suffer imminent and irreparable harm ifDefendant Prudential
distributes the four hundred thousand dollar policy proceeds on November 11, 2015, as it
urged it would do in correspondence to Ms. Sanchez. Release and distribution of the monies
which form the corpus of the insurance policy will further cause irreparable injury to Plaintiff
Sanchez as once the monies have been given out, a final judgment in her favor cannot rectify
their disbursement to Cheryl Hoffman and George Hoffman, and the intentions of the
decedent will be subsumed.

14.     There is no adequate remedy at law because even though this court in a later ruling
will likely find in favor of the Plaintiff and confirm her superior interest in the policy
proceeds, such a legal remedy is merely illusory (if the monies have been released) and no
effective legal relief could be obtained without filing multiple lawsuits to disgorge and
recoup monies awarded under the policy to Cheryl Hoffman and George Hoffman.

15.    There is a substantial likelihood that Plaintiff ERIKA Sanchez will prevail on the
merits of the case, through a declaratory judgment, summaryjudgment or trial on the merits
where the rights of the parties under the contractual insurance policy based on federal
interpretation of the SGLT statute are construed. Under the Code of Federal Regulations, 38
C.F.R. § 9.4 (a) states "any designation of beneficiary. . . by any member insured under
Servicernembers' Group Life Insurance for full-time coverage or part-time coverage will
remain in effect until properly changed by the member or canceled automatically . . .


Sanchez' Original Complaint
Page4of8
            Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 5 of 8




Subsection (b), provides that "a change of beneficiary may be made at any time and without
the knowledge or consent of the previous beneficiary." 38 C.F.R. § 9.4.

       Under the United States Code Annotated, 38 U.S.C.A. § 1970 (a) provides that the
order of precedence is "first, to the beneficiary or beneficiaries as the member or former
member may have designated by a writing received prior to death (1) in the uniformed
services f insured under SGLI, or (2). . . if assigned to the Retired Reserve, and insured
under SGLI . . . ." 38 U.S.C.A § 1970 (a). [Italicized for emphasis] In this case, the clear
and unambiguous intent of soldier Sebastian Hoffman, was to leave all of his insurance
benefits to his fonner wife, Plaintiff ERIKA Sanchez, that was made post-divorce and
properly signed and presented to his unit administrator.

       In determining whether designation was properly changed, in this case, it is relevant
to consider what constitutes receipt by an administrative officer. In Coomer, the Fifth Circuit
held that when a service member hands the writing, naming the beneficiary., to the person
whom is in charge ofreceiving and maintaining the beneficiary designated forms, receipt has
occurred. Coomer v. Us., 471 F.2d 1, 5 (5th Cir. 1973). The Fifth Circuit concluded that
physically handing the form to the person whom the Navy put in charge of receiving and
keeping the beneficiary designated forms was sufficient receipt. Id. The court went further
to add that, "what happens to the form after it is received by the official record keeper
cannot vitiate the validly expressed intent of the insured." Id. [Italicized for emphasis.] In
the present case, the Plaintiff can establish that the last-in-time designation proffered by Mr.
Hoffman to his assigned unit officer awarded her one hundred percent of the life insurance
policy. Under the analysis of Coomer, the Plaintiff is likely to prevail and be awarded the
policy proceeds over the decedent's heirs-at-law.

16.    Issuance of a preliminary injunction would not adversely affect the public interest.
The underlying dispute between Plaintiff Sanchez and Defendant Prudential is a private
matter that has no bearing on the public interest and the public interest would not be
adversely affected by granting a temporary restraining order prohibiting Prudential from
releasing the proceeds. The real parties-in-interest, Cheryl Hoffman and George Hoffman,
will not be adversely affected by a stay in disbursement of such proceeds until this Court can
properly consider the merits of the underlying suit and order appropriate relief.

       b.      Request for Temporary Restraining Order

17.     An ex parte Temporary Restraining Order (TRO) may only be issued if (1) specified
facts in an affidavit or verified complaint clearly show that the Plaintiff will suffer immediate
and irreparable injury, loss or damage if the TRO is not granted before the Defendant can be
heard, and (2) the Plaintiff's attorney certifies in writing wether efforts were made to give
notice and why notice would not be required. FED. R. Civ. P. 65(b)( 1). Notice is not required
when it would be impracticable or impossible or when there are no less drastic means to

Sanchez' Original Complaint
Page 5of8
          Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 6 of 8




protect the plaintiff's interest. See e.g. First Tech. Sys.   v.   Depinet,   11 F .3 d   641, 650   (6t1   Cir.
1993).

        Plaintiff would respectfully submit that the facts as reflected in ¶J 5-16 show that she
has a superior interest in the proceeds to the insurance policy of Sebastian Hoffman, but that
Defendant Prudential has confirmed it will disregard and ignore the last signed and properly
tendered designation form identifying her as his sole beneficiary, because of lapses in
processing and executing the form by unit. Once the monies have been released, Plaintiff
will not likely have any means of recovering those monies even ifajudgment were awarded
in her favor. Prior to filing this suit, Plaintiff's counsel gave notice to Defendant Prudential
of Ms. Sanchez' intent on bringing suit to determine her rights under the policy and
requesting that Prudential cease in making any distribution and place the monies in the
registry of the court or freeze the account until this Court could make a determination. Said
communication was made via email and facsimile to Prudential, by and through its officer
Neil Mistry, on November 4, 2015 and was acknowledged by Mr. Mistry on November 6,
2015. On November 9, 2015, Plaintiff's counsel attempted to confirm if Defendant
Prudential would agree to file suit as a third party interpleader and place the subject monies
with the court's registry or to hold and freeze the same. No confirming response either way
was received, thereby necessitating the request for a temporary restraining order and
temporary injunction.

18.     In conjunction with her request for a temporary restraining order, Plaintiff Sanchez
is willing to post a bond. However, Plaintiff would respectfully submit that in light of her
superior rights to the proceeds under the policy and prevailing in her underlying suit, as
dictated by case law interpreting the same, the requirements of a bond be dispenses or that
this court require only a nominal bond, as it is within the discretion of this Court. See e.g.
Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996). A court may require no bond
or nominal bond if (1) the bond would effectively deny judicial review, (2) the defendant
does not risk any harm, (3) the plaintiff will likely succeed based on the strengths of the case,
and (4) the bond would place the Plaintiff at a financial risk. See e.g. Moltan Co. V. Eagle-
Picher Indus., 55 F.3d 1171, 1176 (6th Cir. 1995) (Plaintiff likely to succeed based on
strength of case; no bond required); International Controls Corp. v. Vesco, 490 F.2d 1334,
1356 (2nd Cir. 1974) (Defendant faced no risk of losing money; no bond required); Sherr v.
Volpe, 466 F.2d 1027, 1035 (7th Cir. 1972) (Plaintiff likely to succeed based on strength of
case; no bond required); Board of Educ. Of Oak Park & River Forest High Sch. Dist. v.
Illinois State Bd. ofEduc., 10 F. Supp.2d 971, 98 1-82 (N.D. Ill 1998)(Plaintiff in financial
risk; nominal $10 bond ordered); Save Our Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1126
(9th
     Cir. 2005)(if bond would deny judicial review, court does not have to require bond.)

       In the present case, if even a ten percent bond were to be imposed upon the Plaintiff,
($40,000), she would be unable to satisfy the same and judicial review would be effectively


Sanchez' Original Complaint
Page 6of8
           Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 7 of 8




denied. Prudential does not stand to lose any monies from granting the temporary restraining
order, as Defendant Prudential's sole capacity is to distribute the monies under the policy and
does not risk any harm. As discussed above, the Plaintiff will likely prevail on her suit and
interpretation of her rights under Mr. Hoffman's policy. And finally, following the above
analysis for determining whether no bond or a nominal bond should be issued, requiring a
bond that would be unreachable to the Plaintiff, resulting in her not being able to satisfy the
court's bonding requirements, would effectively place her in financial risk of having the
insurance policy proceeds vanish and where she would be able to recoup them from the heirs-
at-law whom Prudential seeks to award.

                                     E. CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Erika Sanchez respectfully
urges this Honorable Court to grant her request for a temporary restraining order on the
release of the proceeds to the policy for former servicemember Sebastian Hoffman, that the
temporary restraining order be converted into a temporary injunction pending an adjudication
from this Court as to her rights under the policy, that a nominal or no bond be ordered in
satisfaction ofher obtaining a temporary restraining order and that the upon a final judgment,
this Court will find that Prudential should be ordered to release and tender the insurance
policyproceeds to Plaintiff ERIKA Sanchez. Plaintiff further prays for any relief, in law or
equity, to which she would be entitled.

                                           Respectfully submitted,



                                           THE AMSBERRY LAW FIRM, PLLC



                                           By: (S
                                               RUSSELL J. G. M/ISBERRY
                                               1370 Pantheon Way, Ste. 110
                                               San Antonio, Texas 78232
                                                                                    /
                                               Telephone: (210) 354-2244
                                               Telecopier: (210) 354-2227
                                               Texas Bar No. 00790228
                                               Attorney for Erika Sanchez




Sanchez' Original Complaint
Pcige   7of8
            Case 5:15-cv-00982-DAE Document 1 Filed 11/10/15 Page 8 of 8




STATE OF TEXAS                        §
                                      §
COUNTY OF BEXAR                       §


                                          VERIFICATION

    Before me, the undersigned notary, on this day personally appeared ERIKA SANCHEZ,
the affiant, a person whose identity is known to me. After I administered an oath to affiant,
affiant testified:

   "My name is ERIKA SANCHEZ. I have read the Plaintiffs Original Complaint and
Application for Temporary Restraining Order and Injunctive Relief. The facts stated in it are
within my personal knowledge and are true and correct."




                                             Effi   SANCHE7'

   SWORN AND SUBSCRIBED before me by ERIKA SANCHEZ on this 10' day of
November, 2015.



r$ELLJGAMSRRY,
              My Commsson   Expires                     .


                October 27, 2019             Notary Public, In     For
   41,.lt
                                             The State ofTexas


                               CERTIFICATE OF CONFERENCE

    The undersigned counsel certifies that reasonable efforts were made to avoid seeking a
temporary restraining order and/or temporary injunction and notice was provided to
Defendant Prudential prior to filing the instant suit. Notice should not be required as there
is no less drastic means of protecting Plaintiffs interest in life insurance proceeds, prior to
Defendant Prudential's imminent disbursement on November 11, 2015.




                                                Russe 1 J. G. AIdsbeny               r
